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                                       Exhibit A




DOCS_DE:240752.1 28639/001
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )    Case No. 22-10778 (JKS)
                                                                       )
                                    Debtors.                           )    (Jointly Administered)
                                                                       )
                                                                       )    Re: Docket Nos. 29, 77

          FINAL ORDER AUTHORIZING THE DEBTORS TO REDACT
     CERTAIN PORTIONS OF THE LETTERS RELATED TO THE DIP FACILITY

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”) , (a) authorizing the

Debtors to redact limited portions of the letters annexed to the DIP Motion, specifically, (i) the

portions of the commitments of the DIP Lenders identifying the specific DIP Lender commitment

amounts and the fee amounts to be paid to the DIP Agent and (ii) the portions of the fee letter

identifying the specific fee amounts to be paid to the DIP Agent; which are identified as Exhibits

C and D to the DIP Motion; (b) directing that those redacted portions of the DIP Letters shall

remain under seal and confidential and not be made available to anyone except to the (i) Court, (ii)

the U.S. Trustee, (iii) counsel to the UCC; and (iv) any other party as may be ordered by the Court

or agreed to by the Debtors and the DIP Agent, in each case pursuant to appropriate confidentiality

standards satisfactory to the Debtors and the DIP Agent that preserve the confidentiality of the DIP



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
    (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Letters (and any information derived therefrom), and (c) granting related relief; all as more fully

set forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth in this Final Order.

       2.      The Debtors are authorized to redact those portions of the DIP Letters that identify

specific amounts or types of fees payable to the DIP Agent and the DIP Lender commitment

amounts, as set forth in the Notice of Filing of Proposed Redacted Versions, subject to further

order of the Court, pursuant to sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy

Rule 9018, and Local Rule 9018-1.

       3.      Except upon further order of the Court, the unredacted versions of the DIP Letters

shall remain under seal, except that copies of the unredacted versions of the DIP Letters shall be

provided to (i) Court, (ii) the U.S. Trustee, (iii) counsel to the UCC, and (iv) any other party as



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may be ordered by the Court or agreed to by the Debtors and the DIP Agent, in each case pursuant

to appropriate confidentiality standards satisfactory to the Debtors and the DIP Agent that preserve

the confidentiality of the DIP Letters (and any information derived therefrom). Such parties shall

be bound by this Final Order, shall at all times keep the redacted provisions of the DIP Letters

strictly confidential, and shall not disclose the redacted contents thereof to any party whatsoever.

       4.      The Debtors and any party authorized to receive copies of unredacted versions of

the DIP Letters pursuant to this Final Order shall, subject to Local Rule 9018-1(c) and without

further order of the Court: (a) redact specific references to the redacted portions of the DIP Letters

from any and all pleadings filed on the public docket maintained in these chapter 11 cases; and

(b) not use or refer to the redacted portions of the DIP Letters in any hearing unless appropriate

safeguards have been put in place to protect the confidentiality of the information.

       5.      Any Bankruptcy Rule (including Bankruptcy Rule 6004(h)) or Local Rule that

might otherwise delay the effectiveness of this Final Order is hereby waived, and the terms and

conditions of this Final Order shall be effective and enforceable immediately upon its entry.

       6.      This Final Order is without prejudice to the rights of any party in interest to seek to

unseal and make public any portion of the material filed under seal.

       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Final Order in accordance with the Motion.

       8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.




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